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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS

PAULINE BOYLE                           )
                                        )
                   Plaintiffs,          )
                                        )
           vs.                          )              Case No.
                                        )
L-3 COMMUNICATIONS CORPORATION;         )
MILITARY PROFESSIONAL RESOURCES, INC.)
A DIVISION OF L-3 COMMUNICATIONS        )
CORPORATION a/k/a L-3 MPRI; MARSH INC.; )
SEABURY & SMITH, INC, A WHOLLY OWNED)
SUBSIDIARY OF MARSH, INS. AND d/b/a     )
MARSH U.S. CONSUMER; MERCER HEALTH )
& BENEFITS ADMINISTRATION LLC,          )
A WHOLLY OWNED SUBSIDIARY OF            )
MARSH, INC.; METROPOLITAN LIFE          )
INSURANCE COMPANY; AMERICAN             )
INTERNATIONAL GROUP f/k/a CHARTIS;      )
AMERICAN INTERNATIONAL GROUP f/k/a      )
CHARTIS and d/b/a NATIONAL UNION FIRE )
INSURANCE COMPANY OF PITTSBURGH, PA. )
                                        )
                   Defendants.          )

                                      COMPLAINT

      NOW COMES Plaintiff, PAULINE BOYLE (“Pauline”) by and through her attorneys,

Nicholas F. Esposito and Bradley K. Staubus, Esposito & Staubus, LLP, and for her Complaint

against Defendants, L-3 COMMUNICATIONS CORPORATION (“L-3”); MILITARY

PROFESSIONAL RESOURCES, INC. (“MPRI”), A DIVISION OF L-3 COMMUNICATIONS

CORPORATION (“L-3 MPRI”); MARSH INC. (“MARSH”); SEABURY & SMITH, INC, a

WHOLLY OWNED SUBSIDIARY OF MARSH, INC. d/b/a MARSH U.S. CONSUMER

(“SEABURY MARSH”); MERCER HEALTH & BENEFITS ADMINISTRATION LLC, A

WHOLLY OWNED SUBSIDIARY OF MARSH, INC. (“MERCER”); METROPOLITAN LIFE

INSURANCE COMPANY (“METLIFE”); AMERICAN INTERNATIONAL GROUP f/k/a
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CHARTIS (“AIG”); AMERICAN INTERNATIONAL GROUP f/k/a CHARTIS d/b/a

NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA (“NATIONAL

UNION FIRE”), states as follows:

                                             OVERVIEW

        This action is brought for contract breach of life and accidental death and dismemberment

insuring agreements; violation of ERISA by an employer, insurers, and third-party administrators

of employee benefits plans; and other related remedies.

                                  JURISDICTION AND VENUE

        1.      This Court also is given jurisdiction of this matter under 28 U.S.C. § 1332(a)(1),

which provides for jurisdiction over citizens of different States. Complete diversity exists here as

Plaintiff Pauline an individual resides in this district and each of the corporate Defendants have

their principal places of business outside Illinois and do business in Illinois. The amount in

controversy exceeds $75,000 exclusive of interest and costs.

        2.      Pursuant to 28 U.S.C. § 1331, this Court also has federal question jurisdiction in all

civil actions arising under the Constitution, laws, or treaties of the United States in that Pauline

also brings claim against each and all Defendants for violations of the Employee Retirement

Income Security Act, 29 U.S.C. § 18 (“ERISA”).

        3.      Pursuant to 28 U.S. Code § 1367, this Court also has supplemental jurisdiction over

Plaintiffs’ state claims set forth herein that are so related to claims in the action within such original

jurisdiction that they form part of the same case or controversy under Article III of the United

States Constitution.

        4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) and (c) because

each Defendant has significant and sufficient contacts in Illinois and within this District to render

permissible this Court’s exercise of jurisdiction.
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                                              PARTIES
                                               Plaintiff

        5.      Plaintiff Pauline is an individual residing in Barrington Hills, Illinois.

        6.      Pauline is the widow of Thomas J. Boyle, Jr. (“Tom”).

        7.      Immediately prior to his death on June 19, 2012, Tom also resided in Barrington

Hills, Illinois, with his wife Pauline.

                                    Employer & Related Parties

        8.      L-3 is a corporation with its principal place of business at 600 Third Avenue, New

York, NY 10016, and at all times relevant hereto did and does business in Illinois.

        9.      MPRI is a corporation with its principal place of business at 600 Third Avenue,

New York, NY 10016, and at all times relevant hereto did and does business in Illinois.

        10.     L-3 MPRI is a corporation with its principal place of business at 600 Third Avenue,

New York, NY 10016, and at all times relevant hereto did and does business in Illinois.

        11.     L-3, MPRI and L-3 MPRI are hereafter jointly referred to as “Employer.”

                                               Insurers
                                               MetLife

        12.     MetLife is a corporation with its principal place of business at 200 Park Ave., New

York, New York 10166 and, at all times relevant hereto, did and does business in Illinois.

        13.     MetLife is a provider of and sells insurance, annuities and employee benefit

programs including life insurance through employer-paid (fully or partly) insurance and benefit

programs.

                         National Union Fire and AIG (f/k/a CHARTIS)

        14.     AIG is a corporation, formerly known as CHARTIS, with its principal place of

business at 175 Water St., New York, NY, 10038, and at all times relevant hereto did and does

business in Illinois.
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       15.     National Union Fire is a corporation and subsidiary of AIG, with its principal place

of business at 175 Water Street, 18th Floor, New York, NY 10038, and at all times relevant hereto

did and does business in Illinois.

                           Third Party Administrators
      Marsh McLennan, Marsh, Marsh U.S. Consumer, Seabury Marsh, and Mercer

       16.     Marsh is a wholly owned subsidiary of Marsh McLennan, with its principal place

of business at 1166 Avenue of the Americas, New York, NY 10036, and at all times relevant hereto

did and does business in Illinois.

       17.     Marsh is a global professional services firm offering clients advice and solutions in

the areas of risk, strategy, and people.

       18.     Marsh U.S. Consumer is a service of Seabury & Smith, Inc., and a subsidiary of

Marsh, Inc.

       19.     Marsh U.S. Consumer provides life and health, professional liability, and other

`property/casualty insurance programs for members of associations, professional organizations,

health care groups, unions, military organizations, and university alumni groups. Marsh U.S.

Consumer has more than half a century of insurance program administration experience and serves

more than 350 organizations.

       20.     Seabury Marsh is a corporation, and subsidiary of Marsh, Inc., with its principal

place of business at 1166 Avenue of the Americas, New York, NY 10036, and at all times relevant

hereto did and does business in Illinois.

       21.     Mercer is a corporation and a subsidiary of Marsh with its principal place of

business at 1166 Avenue of the Americas, New York, NY 10036, and at all times relevant hereto

did and does business in Illinois.




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       22.     Marsh, Marsh U.S, Consumer, Seabury & Smith, Inc., Seabury Marsh and Mercer

are hereafter jointly referred to as “the TPAs.”

                                              FACTS

       23.     Tom, age 62, was employed by the Employer as civilian contractor, training

Afghanistan police in Afghanistan. He received pay and ERISA-protected benefits including the

right to apply for Employer-sponsored life insurance and accidental death insurance.

       24.     Tom died in Afghanistan on June 19, 2012, not of natural causes.

       25.     Through his Employer’s Group Policy Number 94644-695, Pauline on information

and belief is informed and believes that, on April 26, 2012, Tom acquired:

               a.      a MetLife Universal Life Insurance policy (“Life Policy”);

               b.      a MetLife Personal Accidental Insurance policy (“PAI policy”), and/or

                       Accidental Death and Dismemberment policy (“AD&D policy”) in the

                       amount of $401,448;

               c.      a GTP Travel Protection policy No. 9130674 in the amount of $669,080;

               d.      an AIG PAI policy and/or AD&D policy;

               e.      and possibly other supplemental policies.

               (Jointly the “Policies”).

       26.     Tom used application and application portals administered by any or all of the

Employer and/or the TPAs.

       27.     During the policies’ application processes, MetLife, L-3 and the TPAs failed to

provide Tom full policy coverage information and/or complete and accurate benefit plan

information or summary plan description (“SPD”) regarding the insurance application choices.

       28.     Pauline is informed and believes that Tom never received the policy(ies) prior to

his arrival in Afghanistan.
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       29.     Pauline is informed and believes that, despite repeated requests and demands, she

has never been provided a full copy of all the policies and coverages.

       30.     The amount of each policy exceeds $75,000 exclusive of costs.

       31.     Pauline made claim upon Tom’s MetLife life policy, which was paid in full.

       32.     MetLife has failed to adequately search and disclose all policies that it has or has

had for Tom.

       33.     Pauline made claim upon AIG’s AD&D policy which has been refused.

       34.     To the date of his death, Tom timely made all premium payments required of him.

                                      COUNT I
          ERISA Breach of Fiduciary Duty vs. Employer, MetLife, AIG, and TPAs

       35.     Paragraphs 1 through 34 are re-alleged herein as paragraph 35.

       36.     Pursuant to 29 U.S.C. § 1132(a)(1)(B), Pauline, as insuring plan beneficiary, seeks

to recover plan insurance benefits owed to her upon the death of her husband Tom but refused and

denied by all Defendants arising from failure of each and all of them to act prudently and failing

to manage plan assets appropriately.

       37.     Defendants and each of them breached their fiduciary duties, including in violation

of ERISA which requires plans to provide participants with either complete plan information or a

Summary Plan Description including important information about plan features and also provides

fiduciary responsibilities for those who manage and control plan assets, and gives participants the

right to sue for benefits and breaches of fiduciary duty.

       38.     ERISA imposes a fiduciary duties upon plans and plan administrators.

       39.     Defendants and each of them engaged in mismanagement of plan benefits and

breached their fiduciary duty to Pauline as follows, among other things:

               a.      Relying and acting upon false, fraudulent or incorrect statements about the
                       facts associated with the cause of Tom’s death;
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                b.     Failing to provide sufficient information to Tom during the application
                       process regarding coverage, policy conditions, policy limitations and/or
                       policy exclusions;

                c.     Failing to and/or inconsistently attempting to determine the cause of death;

                e.     Failing to provide timely and sufficient written information about the status
                       of Pauline’s claims;

                f.     Failure to make every effort to discover and provide all insurance coverage
                       and benefits owed to Pauline in a timely fashion; and,

                g.      Failure to pay all insurance policy benefits due and owing to Pauline.

       40.      Plaintiff seeks to recover damages in an amount in excess of $75,000.00, plus court

costs, lost investment profits, attorneys’ fees, and any other statutorily prescribed extra-contractual

damages.

       WHEREFORE, Plaintiff prays for judgment against Defendants and each of them in an

amount in excess of $75,000.00, interest, lost investment profits, plus statutory costs and attorneys’

fees, and any other statutorily prescribed extra-contractual damages in an amount to be determined

by the Court.

                                          COUNT II
                              Breach of Contract Claim vs. MetLife

       41.      Paragraphs 1 through 40 are re-alleged herein as paragraph 41.

       42.      MetLife breached the terms of Tom’s insurance policy contract from which breach

Pauline is damaged.

       43.      MetLife breached the implied covenant of good faith and fair dealing and breached

its fiduciary duty to Plaintiff to fully investigate, confirm and pay-out all insurance proceeds owed

to Pauline.

       44.      Pauline has performed all duties required of her to claim the insurance proceeds or

such duties have been waived by the conduct of MetLife.

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       45.     Pauline seeks to recover damages in an amount in excess of $75,000.00, plus court

costs, lost investment profits, and any other prescribed extra-contractual damages.

       46.     Pursuant to §155 of the Illinois Insurance Code, 215 ILCS 511, et seq., Pauline

prays for statutory damages plus her attorneys’ fees, costs, and prejudgment interest against

MetLife for: vexatious and unreasonable conduct by refusing to pay Pauline’s claim; knowingly

misrepresenting relevant facts and policy provisions; and, forcing Pauline to litigate the claim

knowing that it has no substantial grounds to reject it.

       WHEREFORE, Plaintiff prays for judgment against MetLife in an amount in excess of

$75,000.00, interest, lost investment profits, plus statutory damages costs and attorneys’ fees, and

any other extra-contractual damages to which she may be owed, in an amount to be determined by

the Court.

                                          COUNT III
                               Breach of Contract Claim vs. AIG

       47.     Paragraphs 1 through 45 are re-alleged herein as paragraph 46.

       48.     AIG breached the terms of Tom’s insurance policy contract from which breach

Pauline is damaged.

       49.     AIG breached the implied covenant of good faith and fair dealing and breached its

fiduciary duty to Plaintiff to fully investigate, confirm and pay-out all insurance proceeds owed to

Pauline.

       50.     Pauline has performed all duties required of her to claim the insurance proceeds or

such duties have been waived by the conduct of AIG.

       51.     Plaintiff seeks to recover damages in an amount in excess of $75,000.00, plus court

costs, lost investment profits, and any other prescribed extra-contractual damages.




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       52.     Pursuant to §155 of the Illinois Insurance Code, 215 ILCS 511, et seq., Pauline

prays for statutory damages plus her attorneys’ fees, costs, and prejudgment interest against AIG

for: vexatious and unreasonable conduct by refusing to pay Pauline’s claim; knowingly

misrepresenting relevant facts and policy provisions; and, forcing Pauline to litigate the claim

knowing that it has no substantial grounds to reject it.

       WHEREFORE, Plaintiff prays for judgment against AIG in an amount in excess of

$75,000.00, interest, lost investment profits, plus statutory damages costs and attorneys’ fees, and

any other extra-contractual damages to which she may be owed, in an amount to be determined by

the Court.

                                          COUNT IV
                                Breach of Contract vs. Employer

       53.     Paragraphs 1 through 52 are re-alleged herein as paragraph 53.

       54.     Employer breached its contract with Tom by failing to provide his spouse Pauline

all the funds owed to her with respect to his employee benefits.

       WHEREFORE, Plaintiff prays for judgment against AIG in an amount in excess of

$75,000.00, interest, lost investment profits, and any other contractual and extra-contractual

damages to which she may be owed, in an amount to be determined by the Court.

                                               PAULINE BOYLE,
                                               Plaintiff
                                               By: /Nicholas F. Esposito
                                               One of her attorneys
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